Case 6:21-cv-01660-ACC-DCI Document 34 Filed 07/11/22 Page 1 of 2 PageID 611




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

LA ROSA FRANCHISING, LLC and
LA ROSA REALTY, LLC,
                    Plaintiffs,

v.                                               Case No: 6:21-cv-1660-ACC-DCI

ANA IVELISSE MORALES and
LA ROSA REALTY PUERTO RICO, PSC,
                   Defendants.


     PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO VACATE
     CLERK’S ENTRY OF DEFAULT AND MOTION TO QUASH SERVICE

      In light of the Court’s order, see Dkt. 32, and upon reflection, Plaintiffs do not

object to Defendant’s Motion to Vacate Clerk’s Entry of Default and Motion to Quash

Service of Process, Dkt. 26.

      Dated this 11th day of July, 2022.



                                           /s/ Bradford A. Patrick
                                           Bradford A. Patrick, Esq.
                                           Florida Bar No. 0529850
                                           brad@elpglobal.com
                                           Carlos J. Bonilla, Esq.
                                           Florida Bar No. 0577818
                                           carlos@elpglobal.com
                                           ELP GLOBAL PLLC
                                           7901 Kingspointe Pkwy, #8
                                           Orlando, FL 32819
                                           Counsel for Plaintiffs
Case 6:21-cv-01660-ACC-DCI Document 34 Filed 07/11/22 Page 2 of 2 PageID 612




                                  Certificate of Service

      I hereby certify that on July 11, 2022, I electronically filed the foregoing

document with the Clerk by using the CM/ECF system, which will serve a copy on all

counsel of record.

                                                 By: /s/ Bradford A. Patrick
                                                         Bradford A. Patrick
